Case 9:19-cr-80030-WPD Document 361-5 Entered on FLSD Docket 03/18/2020 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                          CASE NO. __19-CR-80030-WPD_______________

United States,
      Plaintiff

v.

Phillip Braun, et al.,
        Defendant.

                  CERTIFICATE OF COMPLIANCE RE ADMITTED EVIDENCE

I, ___Alistair F. A. Reader______________________________________________, as counsel for the

___United States______________________________________, hereby certify the following:

Check the applicable sections:

 X ALL EXHIBITS E-FILED: All documentary exhibits and photographs of non-documentary physical
exhibits offered or introduced into evidence have been electronically filed in CM/ECF.

 X    EXHIBITS NOT E-FILED: The following is an itemized list of exhibits that are exempt from
mandatory electronic filing pursuant to Local Rule 5.3(b)(3):
______Exhibit 40 – Euphoria video

Any original exhibits that have been returned to or retained by the filing party after electronic filing shall
be kept for safe keeping until the conclusion of any appeals. Upon order of court, the filing party agrees to
return the original exhibits to the Clerk of Court.

This Certificate shall be filed within ten (10) days of the conclusion of a hearing or trial. Failure to timely
comply with the requirements of Local Rule 5.3(b) may result in the imposition of sanctions.

Signature:     ___/s/ Alistair Reader______________________            Date: ___March 17, 2020__
